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                      Exhibit M
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 1                 UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
 2
 3   IN RE:    OIL SPILL         )MDL NO. 2179
     by the OIL RIG,             )
 4   DEEPWATER HORIZON in        )SECTION "J"
     the GULF OF MEXICO,         )
 5   April 20, 2010              )JUDGE BARBIER
                                 )
 6                               )MAG. JUDGE
                                 )SHUSHAN
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17
                   Deposition of STEVEN TRAN, taken at
18   Pan-American Building, 601 Poydras Street, 11th
     Floor, New Orleans, Louisiana, 70130, on October
19   12, 2011.
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                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4421-14 Filed 10/27/11 Page 3 of 6
                                                                                 33

         1   there was a meeting and that they were hiring
         2   boats to go work.
         3        Q.   And how long was the meeting?
         4        A.   They were about a few hours each.           The
09:38    5   first time was about three or four hours and then
         6   the second time was also a few hours.
         7        Q.   And so you went on two separate days to
         8   training?
         9        A.   It was in the -- it was on the same day
09:39 10     but twice.
        11        Q.   Okay.    I'm --
        12                    (Exhibit 24 was marked.)
        13        Q.   (BY MR. THUESEN)       Mr. Tran, I'm handing
        14   you what's been marked as VoO Exhibit 24.             The
09:39 15     last four numbers in the Bates number on the
        16   bottom right are 0505.        And the title of the
        17   document is VoO Contract Claim Plaintiff Fact
        18   Sheet.
        19        A.   Yes.
09:41 20          Q.   Do you recognize this document, Mr. Tran?
        21        A.   I don't -- I'm not -- I can't recall any
        22   of the paperwork because as soon as I did, I put
        23   them aside.
        24        Q.   Do you remember ever reading through this
09:41 25     document?


                        PURSUANT TO CONFIDENTIALITY ORDER
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                                                                                 34

         1        A.    No, I -- I just -- I asked my friend to
         2   review it and -- Tuan maybe.
         3        Q.    Can you turn to Page 2, please.         And can
         4   you go nine lines down from the top where it
09:42    5   says:     Did you receive safety training?
         6        A.    Yes.
         7        Q.    And there is a check mark next to "yes,"
         8   correct?
         9        A.    Yes.
09:42 10          Q.    Then it says:     If yes, when?
        11              It says:    April 28 and 29, after that.
        12        A.    Yes.
        13        Q.    So is April 28 and April 29, are those
        14   the days that you attend the meetings in
09:42 15     Boothville?
        16                     MR. VANCE:    Object to the form.
        17        A.    Yes, yes, it was in Boothville.
        18        Q.    (BY MR. THUESEN)      And did you attend
        19   meetings on both April 28 and April 29?
09:43 20          A.    Yes, there was one day there were two
        21   meetings.     I don't know which one it was.          There
        22   was a meeting on the 28th, but on that day there
        23   were two meetings.
        24        Q.    Okay.    So did you attend a meeting or a
09:43 25     training on April 29th, 2010?


                        PURSUANT TO CONFIDENTIALITY ORDER
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 1                 UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
 2
     IN RE: OIL SPILL       )MDL NO. 2179
 3   by the OIL RIG,        )
     DEEPWATER HORIZON in   )SECTION "J"
 4   the GULF OF MEXICO,    )
     April 20, 2010         )JUDGE BARBIER
 5                          )
                            )MAG. JUDGE
 6                          )SHUSHAN
 7                REPORTER'S CERTIFICATION
                 DEPOSITION OF STEVEN TRAN
 8                TAKEN OCTOBER 12, 2011
 9       I, Tamara Chapman, Certified Shorthand
     Reporter in and for the State of Texas, hereby
10   certify to the following:
11       That the witness, STEVEN TRAN, was duly
     sworn by the officer and that the transcript of
12   the oral deposition is a true record of the
     testimony given by the witness;
13       That the deposition transcript was submitted
     on _________________, 2011, to the witness or to
14   Attorney __________________for examination,
     signature and return to Worldwide Court
15   Reporters, Inc., by __________________, 2011.
                That the amount of time used by each
16   party at the deposition is as follows:
17              MR. THUESEN - 4:18
18              I further certify that I am neither
     counsel for, related to, nor employed by any of
19   the parties in the action in which this
     proceeding was taken, and further that I am not
20   financially or otherwise interested in the
     outcome of the action.
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                PURSUANT TO CONFIDENTIALITY ORDER
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                                                                         138

 1        SUBSCRIBED AND SWORN to by me this ____ day of
     _______________, 2011.
 2
 3
 4

            ___________________________________
 5          TAMARA CHAPMAN, CSR
            CSR NO. 7248; Expiration Date: 12-31-12
 6          Worldwide Court Reporters
            Firm Registration No. 223
 7          3000 Weslayan, Suite 235
            Houston, TX 77027
 8          (713) 572-2000
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                PURSUANT TO CONFIDENTIALITY ORDER
